       Case 1:20-cv-02456-MJM Document 65 Filed 02/27/23 Page 1 of 10



                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                             Northern Division

KIMBERLY KUBAS                      )
                         Plaintiff, )
                                    )
              v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                    )
331B, LLC                           )
(D/B/A ROCKWELL FITNESS)            )
                                    )
                       Defendant. )
                                    )


                    PLAINTIFF’S OMNIBUS MOTION IN LIMINE

                                 TABLE OF CONTENTS

   1. To preclude Defendant from offering any evidence or otherwise alluding to offers of
      settlement.………………………………………………………………………………...2

   2. To preclude Defendant and witnesses from offering personal opinions on the merits of
      the lawsuit or the credibility Plaintiff ……………………………………………………4

   3. To preclude testimony from Messrs. Chisholm and Saab conflating their status as public
      officials and purported duty to tell the truth and ensure safety and fairness of their
      employees…………………………………………………………………………………5

   4. To exclude evidence of Defendant’s Employee Handbook ………………………………7




                                             1
         Case 1:20-cv-02456-MJM Document 65 Filed 02/27/23 Page 2 of 10



       Plaintiff, by and through her undersigned counsel, respectfully submits her omnibus

motion in limine to exclude certain evidence as discussed herein.

                                         Legal Standards

       “Motions in limine are designed to narrow the evidentiary issues for trial and to eliminate

unnecessary trial interruptions.” United States v. Wall, No. SAG-19-0500, 2022 U.S. Dist.

LEXIS 77347 (D. Md. Apr. 28, 2022). Motions in limine aid the trial process by enabling the

Court to rule in advance on the relevance of certain forecasted evidence, as to issues that are set

for trial. “A motion in limine to preclude evidence calls on the court to make a preliminary

determination on the admissibility of the evidence under Rule 104 of the Federal Rules of

Evidence….The party seeking to introduce evidence bears the burden of establishing relevancy.

Fed. R. Evid. 403 also allows the Court to exclude relevant evidence if its probative value is

substantially outweighed by a danger of unfair prejudice, confusing the issues, misleading the

jury, undue delay, wasting time, or needlessly presenting cumulative evidence.” United States v.

Mosby, No. 22-cr-00007-LKG, 2022 U.S. Dist. LEXIS 163001 (D. Md. Sep. 8, 2022)

       “The moving party must “demonstrate why certain categories of evidence should (or

should not) be introduced at trial and … direct the Court to specific evidence, by pointing to

specific parts of the record, that would favor or disfavor the introduction of that particular

category of evidence.” United States ex rel. El-Amin v. George Washington Univ., 533 F. Supp.

2d 12 (D.D.C. 2008).

       In deference to their familiarity with the details of the case and greater experience in

evidentiary matters, trial judges are afforded broad discretion in rendering evidentiary rulings, a

discretion which extends to assessing the probative value of the proffered evidence and weighing

any factors against admissibility. United States v. Jones, 356 F.3d 529, 535 (4th Cir. 2004).


                                                  2
         Case 1:20-cv-02456-MJM Document 65 Filed 02/27/23 Page 3 of 10



Motion in Limine No. 1:       To preclude Defendant from offering any evidence or otherwise
                              alluding to offers of settlement.

       Rule 408 Compromise Offers and Negotiations, in relevant part, precludes a party, from

introducing evidence in order “to prove or disprove the validity or amount of a disputed claim

from offering evidence of…(1) furnishing, promising, or offering — or accepting, promising to

accept, or offering to accept — a valuable consideration in compromising or attempting to

compromise the claim; and (2) conduct or a statement made during compromise negotiations

about the claim…” Fed. R. Evid. 408. There are several communications (emails and text

messages) wherein Brian Chisholm, co-owner of Rockwell Fitness, shared Plaintiff’s offer of

settlement with witnesses in this case. See Ex. 1 331B 1300 (Chisholm text message exchange

with Bree Moore: “my lawyer sent an email saying Kubas lawyer reached back out and would

still like a settlement around 100K”). In some instances, Plaintiff’s settlement offer was shared in

the context of depicting the lawsuit as unmeritorious and painting plaintiff in a negative light.

See Ex. 2 331B 291-299 (Chisholm to Riley Mayer: “She’s asking for $100,000 and the lawsuit

is almost 100% lies as you will see when I send it to you.” Mayer’s response, “She is NUTS lol.”

Chisholm: “Yes I agree but her insanity is costing me lots of time, money and peace of mind.”).

       Plaintiff requests that the Court preclude Defendant from offering any testimony,

evidence or otherwise alluding to offers of settlement in this case. Should any party seek to

introduce documents containing any offer of settlement, the document should be redacted

accordingly to remove any reference to the offer and any responses related to the offer. Rule 408

has limited exceptions allowing admission of this evidence “for another purpose, such as proving

a witness’s bias or prejudice...” Fed. R. Evid. 408(b). In the event that either party seeks to

introduce this evidence pursuant to a 408(b) exception, Plaintiff requests that the Court require




                                                 3
          Case 1:20-cv-02456-MJM Document 65 Filed 02/27/23 Page 4 of 10



the offering party to seek approval of the Court prior to raising the issue or introducing such

evidence before the jury.


Motion in Limine No. 2:             To preclude Defendant and witnesses from offering personal
                                    opinions on the merits of the lawsuit or the credibility of
                                    Plaintiff.

         As exemplified in the above referenced communication between Mr. Chisholm and Riley

Mayer,1 Ms. Mayer provided her opinion of Ms. Kubas’s credibility (“She is NUTS lol”) which

is improper evidence as it invades the province of the jury. Ex. 2 at 331B 299. See Daughety v.

Harvey, No. CBD 04-2114, 2006 U.S. Dist. LEXIS 116320, at *27 (D. Md. Mar. 20, 2006)

(noting that plaintiff’s credibility is an issue reserved for the jury); Hale v. Mayor of Balt. City,

No. 20-cv-00503-SAG, 2022 U.S. Dist. LEXIS 22324, at *29 (D. Md. Feb. 8, 2022) (“…it is for

the jury to assess the credibility of Plaintiff's testimony”); Munoz v. Williams, No. 21-cv-22801,

2022 U.S. Dist. LEXIS 205197, at *15 (S.D. Fla. Nov. 10, 2022) (granting plaintiff’s motion in

limine that no witness shall provide their opinion about plaintiff's credibility or the credibility of

any other witness).

         In the same text message exchange, after Mayer reviewed the complaint, she texted

Chisholm, “Thanks I could not believe what I was reading [sic] so ridiculous.” Ex 2. At 331B

298. Ms. Mayer, and any other witness, should not be allowed to testify as to their personal

opinions on the merits of Ms. Kubas’s lawsuit. See Ogilvie v. Swank, No. 2:14-cv-354-SPC-,

2016 U.S. Dist. LEXIS 51639, at *6-7 (M.D. Fla. Apr. 15, 2016) (witness will not be permitted

to testify as to his personal opinions on the merits of the suit).




1
  Ms. Mayer is not listed on either party’s witness list but it is anticipated that Defendant may try to call Ms. Mayer
(as well as Bobbi Beers and Bree Moore) as impeachment witnesses.

                                                           4
             Case 1:20-cv-02456-MJM Document 65 Filed 02/27/23 Page 5 of 10



           Using Ms. Mayer as an example, her opinion on the merits is speculative. She is

mentioned only in one paragraph of the Complaint (Paragraph 13) concerning her experience

with Devin Conway; she was not present for any of the other allegations in the complaint as she

left Rockwell Fitness prior to many of the relevant events in this case. See Dkt. # 1 (Complaint)

at ¶ 13. Her opinion also constitutes an inadmissible lay opinion that is not based on her own

perception and would not be helpful to understand or determine a fact in issue. See Fed. R. Evid.

701. Her opinion on the merits of the lawsuit is also irrelevant because her opinion does not

have a tendency to make any material facts more or less likely. See Fed. R. Evid. 401. To the

extent that Defendant seeks to admit communications from Ms. Mayer or any other witness who

offers an opinion concerning the merits of this lawsuit, such communications are prejudicial,

have no probative value and are inadmissible hearsay because they are being offered to prove the

truth of the matter asserted. See Fed. R. Evid. 801, 802. In short, “[e]valuation of evidence,

drawing of inferences, and credibility determinations are within the province of the jury; not

Plaintiff's past co-workers.” Miller v. Tyco Elecs., Ltd., No. 1:10-cv-2479, 2012 U.S. Dist.

LEXIS 164531, at *18 (M.D. Pa. Nov. 14, 2012).


Motion in Limine No. 3:               To preclude testimony from Messrs. Chisholm and Saab
                                      conflating their status as public officials and purported duty to
                                      tell the truth and ensure safety and fairness of their employees.
           It is anticipated that Defendant may attempt to refer to the statuses of Mr. Chisolm and

Mr. Saab2 as “public officials” or “public servants” and imply, that due to this status, they have a

heightened duty to tell the truth and ensure the safety and equitable treatment of their employees.

There are several communications wherein Brian Chisolm, co-owner of Rockwell Fitness,

references his status as a public official and these heightened duties.


2
    Mr. Saab recently lost his election in Maryland 33rd district. His last day in office was January 11, 2023.

                                                             5
         Case 1:20-cv-02456-MJM Document 65 Filed 02/27/23 Page 6 of 10



       I took this very seriously and shared my conversation with my business partner
       Sid Saab at the time. I told him I wanted to make sure to find the truth and I
       would dedicate all resources to uncovering this truth. Sid and I are both public
       officials and as such, we are held to a higher standard and must be fully
       committed to the truth, safety and fairness.


Ex. 3 (331B 662) (“Kimberly Kubas Timeline” authored by B. Chisholm) (emphasis added). See

also Chisolm Dep. 32:12-15 (“Personally, my wife wanted to make sure that people knew what

the truth was and I told her I’m a man of very high character. I have a solid reputation in this

community.”).

       Chisholm’s self-serving view of his reputation or for being committed to the truth is

wholly irrelevant to the issues in dispute in this matter and should be excluded under FRE 402.

Even if the evidence Defendant seeks to admit had any bearing on an issue in this case, which it

does not, it should be excluded under Fed. R. Evid. 403 because its probative value is

substantially outweighed by a danger of unfair prejudice, confusing the issues and misleading the

jury. If Defendant was permitted to introduce evidence of Mr. Chisolm’s and Mr. Saab’s

statuses as public officials, it would likely confuse or mislead the jury into concluding that as

public officials, Mr. Chisolm and Mr. Saab are more committed to safety, truth, and fairness than

the average person. Moreover, credibility determinations are within the province of the jury. “It

is ‘the jury’s task to resolve any conflicts in the evidence and assess the credibility of

witnesses.’” Correll v. State, 215 Md. App. 483, 502 (2013), citing Allen v. State, 158 Md. App.

194, 251 (2004).

       Plaintiff therefore respectfully requests that the Court instruct Defendant and defense

counsel not to comment on or attempt to suggest to the jury in any way that Mr. Chisolm and Mr.

Saab are held to higher standards of honesty due to their state delegate positions.




                                                 6
        Case 1:20-cv-02456-MJM Document 65 Filed 02/27/23 Page 7 of 10



Motion in Limine No. 4:      To exclude evidence of Defendant’s Employee Handbook.


       Defendant seek to admit an Employee Handbook (Def. Exs. 6 331B 178-198 and 12

331B 1038-1053 (the same document) (“Handbook”). This document should not be permitted

into evidence because no facts have been presented that this Handbook was used while Plaintiff

was employed with Defendant or that she reviewed it or agreed to its contents. There is evidence

that the Handbook was created or modified after Ms. Kubas was terminated on June 21, 2019.

       Defendant cannot confirm whether Plaintiff reviewed Def. Ex. 6 or 12 or that

Defendant distributed it to its employees as a final binding document. Mr. Conway, in his

deposition, admits that there have been “tons of manuals and things like that” over time. See

Conway Dep. 122:13-14. He further suggests that, even though he was Defendant’s General

Manager at the time, he was not familiar with which manual was in effect during which periods

of time or with what rules were contained within the manual:

       I’m not positive. Like I said it’s the old logo on the actual front of it. So that logo
       was discontinued in – I want to say right before Brian and Sid took over because
       they changed the logo to blue. Previously Rockwell was orange and black. So I
       can’t give detail if that’s been updated since then or if that’s the one that was in
       place before I changed it. I’m not really sure.

Conway Dep. 124:3-11.

       Brian Chisholm was unable to testify as to any of the basic foundational issues that are

required to authenticate the Handbook prior to its admission. He claims that the Handbook

requires employees to come into the gym to clock in (“To my knowledge, yes. Everybody is

instructed in your employee handbook that you must come in to clock in. Chisholm Dep. 37:11-

12), however, the Handbook does not contain any such provision. Chisholm also claims that

there was an email to all employees containing the Handbook but that this was sent out prior to

Defendant’s purchase of the gym. Id. 37:18-38:8 (“Q. In order to do that, do you [have any]


                                                 7
          Case 1:20-cv-02456-MJM Document 65 Filed 02/27/23 Page 8 of 10



evidence that a copy of that employee handbook was provided to Ms. Kubas? A. I believe we

have it in an email that it went out to everybody and her – because this was obviously prior to us

purchasing the business. I think in 2015 -- and I don't want to say that I have a copy because I

recall somebody saying we had a copy of it -- that she had signed and confirmed email receipt of

which early on in that handbook, which I reviewed several times. I think it's in section 16

falsifying of documents can lead to dismissal.”).

        Chisholm also references a provision in the Handbook as a basis to claim that Ms. Kubas

was prohibited from taking work home with her (“Yes, but in our employee handbook it

specifically says, "You must be doing Rockwell work," and I will point it out in our handbook

that cannot be at a doctor's appointment. You must make arrangements. It is in the handbook.

And I know you think she didn't sign the handbook. But I will grant you, she was working from

10:03 to 10:07.”). There is no such policy in the Handbook, moreover, no policy from the

Handbook was referenced in Defendant’s responses to Interrogatory No. 3, which asked,

“Identify each and every alleged instance that Defendant claims Plaintiff failed to follow

Rockwell’s policy for recording hours worked. For each instance identified please provide: the

identity of the person(s) who made the complaint about Plaintiff’s failure to follow policy, a

detailed description of the complaint, any efforts to notify, discuss, counsel or discipline Plaintiff

regarding the alleged failure to follow policy, and whether a record (electronic or otherwise) was

made regarding the complaint and/or deficiency.” Defendant answered Interrogatory No. 3 by

referring to its answer to Interrogatory No. 4:3




3
  Interrogatory No. 4: Identify each and every alleged instance that Defendant claims Plaintiff “stole time” by
entering more hours in Defendant’s timekeeping system than she actually worked during that pay period. For each
instance identified please provide: the identity of the person(s) who made the complaint about Plaintiff “stealing
time,” a detailed description of the complaint, and whether a record (electronic or otherwise) was made regarding
the alleged incident(s).

                                                         8
          Case 1:20-cv-02456-MJM Document 65 Filed 02/27/23 Page 9 of 10



         ANSWER NO. 4: On June 17, 2019, Plaintiff texted Conway, “Hey,
         Devin. Just realized my time clock is completely fucked up. Had been
         forgetting to clock in for meetings, work from home, etc. Can you put me
         down for 25 hours. I’ll make any adjustments to next pay. Also, I’ll be in
         around 1130 today. Is our call at 1?” Conway texted back, “The call is at
         1. From now on you will have to clock in/out when you are here and when
         you are working from home. No exceptions.”

         Plaintiff did not clock in on June 17th or 18th. After a managers’ meeting
         on June 18, Conway asked Plaintiff why she still wasn’t clocking in or
         out. Plaintiff was defensive and said that Conway’s June 17, 2019 text
         message telling her to clock in and out with “no exceptions” was “hostile.”
         Mr. Conway told her that she was responsible for clocking in and out just
         like every other employee and that she could not make up hours as she
         pleased. Plaintiff responded that she could go into the system and
         manually change and edit her time entries. She accused Mr. Conway of
         targeting her and being visibly rude to her. On June 19, 2019, Plaintiff
         and her co-worker Ms. Williams asked to speak with Conway and
         Chisholm. During the meeting, Plaintiff accused Conway of targeting her
         for falsifying her hours and refusing to clock in. Mr. Conway responded
         that if Plaintiff would simply clock in and out, there would be no
         problems. Plaintiff then stormed out of the meeting.

         Later in the evening of June 19, 2019, Chisholm received an emailed
         complaint from Plaintiff regarding Conway. Plaintiff asked to work from
         home for two weeks “due to the current situation.” Chisholm granted that
         request but reiterated in a text to Plaintiff that she was required to clock in
         and out for work performed.

         Shortly after 10:00 AM on June 21, 2019, Chisholm told Conway that
         Plaintiff was taking her daughter to the doctor but would be making a
         bank deposit for RWF later that afternoon. Conway was surprised by this
         information because, as he told Chisholm, Plaintiff had clocked into work
         at 10:03 AM and had not yet clocked out. Chisholm was concerned that
         Plaintiff was clocked in but not working (she had expressly stated via text
         message that she was at her daughter’s doctor’s appointment). Chisholm
         disabled Plaintiff’s access to her account so that he would know when she
         tried to access it for work. Plaintiff remained clocked in until 12:14 PM
         when she texted Chisholm to advise that she was at the bank trying to
         make a deposit.
Nowhere in Defendant’s response to Plaintiff’s Interrogatory No. 3 (or in its answer to No. 4)

does Defendant mention any policy or handbook, let alone the Handbook it seeks to introduce at

trial.



                                                    9
        Case 1:20-cv-02456-MJM Document 65 Filed 02/27/23 Page 10 of 10



       After Plaintiff was termianted, Defendant sought to rectify its inability to locate an

acknowledgement of receipt by Plaintiff of an employee handbook in a September 2, 2020 email

from Chisholm to Bree Moore, Sid Saab and others. In this email, Chisholm instructed that all

new employees “must then be given our employee handbook via hard copy or electronic copy

and asked to sign an acknowledgement of receipt. This must be added to the hard copy and the

electronic folder.” Ex. 4 (331B 809).

       In sum, the Handbook should not be admitted under 403 because there is no evidence that

Ms. Kubas received the specific handbook Defendant has included as Exhibits 6 and 12, no

evidence that she reviewed it or that she executed the acknowledgement form.

       Should the Court grant Plantiff’s request to exclude Exhibist 6 and 12 or any mention of

an Employee Handbook, it follows that Defendant should be precluded from offering any

testimony that it had a written policy concerning procedures for reporting sexual harassment or

clocking in and out as no such policy or procedures have been produced in discovery.




Dated: February 27, 2023
                                                     /s/ Sundeep Hora
                                                 Sundeep Hora (Bar. No. 28208)
                                                 Emma Eckert (PHV)
                                                 ALDERMAN, DEVORSETZ & HORA PLLC
                                                 1025 Connecticut Ave., NW, Suite 615
                                                 Washington, D.C. 20036
                                                 Tel. 202.969.8220
                                                 Fax 202.969.8224
                                                 E-mail: shora@adhlawfirm.com

                                                 COUNSEL FOR PLAINTIFF




                                                10
